In this cause a writ of error was taken to a judgment rendered in Jackson County in favor of the defendant in error and against the plaintiff in error. The parties have filed in this court a stipulation wherein it is agreed that the question involved in this case is substantially the same as that in the case of Willie T. Russ, as Administratrix of the Estate of J. W. Russ, deceased, v. F. M. Golson, as Receiver of the Peoples Bank of Marianna, a corporation, 136 So. 506, brought by writ of error to this Court, and "that the same judgment that shall be entered in the Russ Case be likewise entered in this cause."
This Court has this day affirmed the judgment rendered in the case of Willie T. Russ, as Administratrix, etc. v. F. M. Golson, as Receiver, etc., and pursuant to said agreement, we now affirm the judgment in this case.
BUFORD, C.J., AND WHITFIELD, TERRELL, BROWN AND DAVIS, J.J., concur.